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                    United States District Court
                      District of Massachusetts

                                    )
United States of America,           )
                                    )
          v.                        )
                                    )
Gregory Colburn, et al.,            )
                                    )     Criminal Action No.
          Defendants.               )     19-10080-NMG
                                    )
                                    )
                                    )
                                    )



                          MEMORANDUM & ORDER

GORTON, J.

     Defendant Douglas Hodge pled guilty to one count of

conspiracy to commit mail and wire fraud and honest services

mail and wire fraud, in violation of 18 U.S.C. § 1349, and one

count of money laundering conspiracy, in violation of 18 U.S.C.

§ 1956(h).   He agreed to pay bribes totaling $850,000 over the

course of more than a decade to secure the admission of two of

his children to the University of Southern California and two of

his children to Georgetown University.       On February 7, 2020,

this Court sentenced defendant Hodge to, inter alia, nine

months’ imprisonment.

     On March 13, 2020, this Court allowed Hodge’s motion to

extend his self-surrender date until May 4, 2020.         On April 23,

2020, Hodge moved to modify his sentence to impose home

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confinement pursuant to 18 U.S.C. § 3582(c) because of concerns

related to the COVID-19 pandemic.      This Court agreed to postpone

the self-surrender date of defendant Hodge again until June 30,

2020, but declined to convert his sentence to home detention.

Hodge subsequently surrendered to FCI Otisville in New York on

June 23, 2020, a week early.

     Defendant has now moved pursuant to 18 U.S.C. § 3582(c) to

modify his sentence to impose home confinement or, in the

alternative, reduce his sentence because of concerns related to

the COVID-19 pandemic, the harsh prison conditions imposed to

prevent its spread and an unrelated family emergency.         The

government opposes the motion on several grounds including

1) the conditions imposed have been necessary and successful in

minimizing the spread of COVID-19 within FCI Otisville and

2) the defendant chose to surrender to prison early, knowing

that he would be quarantined for at least 14 days.         With leave

of Court, defendant has filed a reply in support of his motion

to modify sentence which the Court has considered.

     The COVID-19 pandemic is an unprecedented and continually

evolving cause of concern and the Court is cognizant of the

particular risk of transmission in penitentiary facilities.            As

explained at defendant’s sentencing and, notwithstanding the

current public health crisis, there are good reasons why the

period of incarceration imposed is warranted by the defendant’s

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criminal conduct in this case.     The Court will, therefore, deny

defendant’s motion.    The Court is, however, sensitive to Hodge’s

family emergency.   If the circumstances surrounding that

emergency worsen and/or the public health crisis does not

continue to abate within the next few months, the Court will

entertain a motion to reconsider.

                                 ORDER

     For the foregoing reasons, the motion of defendant Douglas

Hodge to modify sentence (Docket No. 1434) is DENIED without

prejudice.

So ordered.


                                    /s/ Nathaniel M. Gorton
                                    Nathaniel M. Gorton
                                    United States District Judge


Dated September 21, 2020




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